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             Exhibit 19
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 MICHAEL J. BOWE
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 March 13, 2023




 BY E-MAIL

 Jason Brown
 Cohen & Gresser LLP
 800 Third Avenue
 New York, NY 10022
 jbrown@cohengresser.com

 RE: Plaintiff’s Discovery Requests Submitted Pursuant to the Court’s March 8, 2023
           Order

 Dear Jason,

        We are following up on the Court’s March 8, 2023 Order directing the parties to meet and
 confer concerning outstanding discovery. As an initial matter, we ask that you remove the June
 30, 2020 cut-off date for searching for responsive information. As we discussed during the
 hearing, we believe the searches should be run at least through June 2021.

             Plaintiff also asks you to provide the following discovery:

       1. Documents identifying Mr. Antoon’s ownership and economic interests in any MindGeek
          related entity or business (RFP 7).

       2. Documents reflecting all monies invested in, or received from, any MindGeek related
          entity and the related contract or agreement under which those payments and distributions
          were made (RFP 3, 7).

       3. Documents identifying any entity not consolidated on MindGeek-produced financial
          statements in which Mr. Antoon holds an interest that does business with any MindGeek
          entity or business (RFP 7).

       4. All non-privileged documents and communications concerning Serena Fleites, including
          any communications concerning her or her claims, made to, from, or among Mr. Antoon
          and any of the Individual Defendants or any MindGeek representatives, executives, or
          employees (RFP 1, 4, 5).

       5. All documents and communications concerning Mr. Antoon’s MindGeek-related trips to
          California and the United States, including documents sufficient to identify the dates,
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       locations, purposes, and substance of those trips where any MindGeek business was
       conducted or discussed. (RFP 11, ROG 4).

    6. All documents and communications concerning Mr. Bergmair’s travel for MindGeek-
       related business, including all documents and communications concerning his trips to
       9219-1568 Quebec, Inc. (RFP 6, 14).

    7. Documents and communications concerning the resignations of Mr. Antoon and
       Individual Defendant David Tassillo (RFP 30).

    8. All documents and communications made to or from Mr. Antoon concerning any
       MindGeek Entity’s policies, practices, and/or procedures for CSAM and non-consensual
       content, (RFP 1, 4, 5, 38-41), including:

           a. Documents and communications pertaining to the implementation and training of
              any screening, CSAM, and non-consensual content policies;

           b. Training and instruction concerning the use of the Content Management System
              during the review and screening of uploaded content;

           c. Documents and Communications sent to managers and team leads concerning the
              applicability of policies, practices, and procedures to potential CSAM and non-
              consensual content;

           d. Work schedules and rotation calendars of the screeners and moderators in Cyprus
              and Montreal; and

           e. Policies and directives concerning tagging, descriptions, formatting, optimizing,
              categorization, reuploading, and optimization of user generated content and
              uploaded material.

           f. During the hearing, you committed to running searches using the terms we
              provided to you. We therefore ask you to search all possible sources, electronic
              or paper, including text and other electronic messages, for the following
              additional search terms:

                              i.   “CP”
                             ii.   “child sex”
                           iii.    “under age*”, “under-age*”
                            iv.    “young teen”
                             v.    “twink”
                            vi.    “too young”
                           vii.    “not 18”
                          viii.    “bullpen”, “bull pen”, “bull-pen”
                            ix.    “National Center for Missing and Exploited Children”, “NCMEC”
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                               x.   “banned”
                              xi.   “red word*”
                             xii.   “new rules”
                            xiii.   “juvenile”
                             xiv.   “re-upload*”
                              xv.   “repost*”
                             xvi.   “fingerprint”
                            xvii.   “compliance”, “compliance rules”, "compliance rule book”
                           xviii.   “search engine optimization”, “SEO”
                             xix.   “training”, “compliance training", "CMS training”
                              xx.   “content management system training”
                             xxi.   "user verification", "amateur user verification"
                            xxii.   "content rule*"
                           xxiii.   "Corey Price"

        Please let us know what time you can confer about this on or before Thursday. We hope
 we can reach agreement on these issues so there is no need for a supplemental brief. Thank you
 for your anticipated cooperation.



                                                            Sincerely,

                                                            Brown Rudnick LLP



                                                            Michael J. Bowe
